                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


 EIGHT MILE STYLE, LLC; MARTIN
 AFFILIATED, LLC,
                     Plaintiffs,
                                                 Case No. 3:19-cv-00736
  vs.
                                                 District Judge Aleta A. Trauger
 SPOTIFY USA INC.; THE                           Magistrate Judge Jeffery S. Frensley
 HARRY FOX AGENCY LLC,
                                                 JURY DEMAND
                           Defendants.

  vs.

 KOBALT MUSIC PUBLISHING
 AMERICA, INC.,

              Third-Party Defendant.




        JOINT STIPULATION TO EXTEND CERTAIN CASE DEADLINES


        Plaintiffs Eight Mile Style, LLC and Martin Affiliated, LLC, Defendants

Spotify USA Inc. and The Harry Fox Agency LLC, Third-Party Defendant Kobalt

Music Publishing America, Inc., and Intervenor The United States of America

(collectively, the “Parties”), by and through their undersigned counsel, have agreed

to extend the time for certain deadlines in this action due to the number of substantial

filings otherwise due on or before January 31, 2024.

        First, the Parties agree to extend the time to file replies to the Parties’



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dispositive motions regarding liability and the Music Modernization Act, including

Plaintiffs’ Reply to the Memorandum of Law of The United States In Support Of The

Constitutionality of the Music Modernization Act, from January 31, 2024 to February

23, 2024.

      Second, the Parties agree to a coordinated briefing schedule for forthcoming

motions to exclude the testimony of Plaintiffs’ expert Drew Jessel and Spotify’s expert

Philip Green, pursuant to which: opening briefs shall be filed by January 8, 2024;

opposition briefs shall be filed by February 7, 2024; and reply briefs shall be filed by

February 21, 2024.

      Accordingly, the Parties respectfully request that the Court enter this joint

stipulation extending the above referenced deadlines.



  Respectfully Submitted,                   Dated: December 22, 2023




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                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was filed electronically on December 22,
2023, with the Clerk of the Court using the CM/ECF system. Notice of this filing will
be sent to all parties and counsel of record by operation of the Court’s CM/ECF
system. Parties may access this filing through the Court’s electronic filing system.


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